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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

____________________________________
                                    )
METROPOLITAN PROPERTY AND           )
CASUALTY INSURANCE                  )
COMPANY, et al.,                    )
                                    )
            Plaintiffs,             )
                                    )
                    v.              )                 Civil Action No. 15-12939-LTS
                                    )
SAVIN HILL FAMILY                   )
CHIROPRACTIC, INC., et al.,         )
                                    )
            Defendants.             )
____________________________________)


         ORDER ON PLAINTIFFS’ MOTION FOR PARTIAL RECONSIDERATION
         AND CLARIFICATION OF THIS COURT’S OCTOBER 11, 2018 ORDER1
                               [Docket No. 904]

                                        December 4, 2018

Boal, M.J.

       The Plaintiffs seek reconsideration of this Court’s order requiring them to provide a

computer terminal in Massachusetts so that the Law Firm Defendants may access original claim

files. Docket No. 904. Despite several orders requiring the production of claim files since July

2017, the Plaintiffs still have not completed their production of such files, which they have

unilaterally limited to what they deem to be the “subject claims” in this case.

       Providing the Law Firm Defendants with access to a computer terminal was a

compromise that was offered by the Plaintiffs in response to the Law Firm Defendants’ motion



1
 The order is dated October 11, 2018 but was inadvertently not docketed until November 7,
2018. Docket No. 838.

                                                 1
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to compel. See Docket No. 807 at 34-35; Docket No. 809 at 8. The only dispute presented to

this Court at the time was whether such access would be given in Massachusetts or Troy, New

York. See id. Plaintiffs now raise new arguments and seek a number of alternative forms of

relief, despite having not asked for them originally. Among other things, Plaintiffs argue that

they are unable to provide access to the system without also providing access to privileged

information. See Docket No. 905 at 8-9. However, the affidavit submitted in support of their

motion does not state that. Rather, the Affidavit of Jason Camhi acknowledges that limiting the

Law Firm Defendants’ access to privileged materials can be performed through computer

programming and/or engineering. Affidavit of Jason Camhi (Docket No. 905-1) (“Camhi Aff.”)

at ¶ 12. The Plaintiffs also complain that terminal access would cause undue burden but have

provided no specifics. Docket No. 905 at 2, 7. Indeed, they have consistently argued that the

instant Law Firm Defendants’ complaints affected only a small subset of records. See Docket

No. 768 at 12; Docket No. 807 at 29.

       In addition, the Plaintiffs complain that they are unable to complete such programming

and/or engineering by the December 7, 2018 deadline, see Camhi Aff. at ¶¶ 8, 12, but they

waited to raise the issue until four days prior to the deadline. They have provided no specifics

regarding the delay in filing the motion, the steps that have been taken to ready access to the

Trexo computer terminal, or the details regarding the steps necessary to prevent disclosure of

privileged materials.




                                                 2
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       Accordingly, the Court denies the motion for reconsideration. The Plaintiffs shall

comply with that portion of the order requiring them to provide the Law Firm Defendants with

access to a computer terminal in Massachusetts by December 18, 2018.2

       So Ordered.

                                              /s/ Jennifer C. Boal
                                             JENNIFER C. BOAL
                                             UNITED STATES MAGISTRATE JUDGE




2
 The Plaintiffs shall comply with the other portions of the October 11, 2018 order by the original
December 7, 2018 deadline.

                                                3
